Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 1 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 2 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 3 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 4 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 5 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 6 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 7 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 8 of 94
Case 18-71778-wlh   Doc 58   Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document     Page 9 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 10 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 11 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 12 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 13 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 14 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 15 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 16 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 17 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 18 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 19 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 20 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 21 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 22 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 23 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 24 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 25 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 26 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 27 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 28 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 29 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 30 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 31 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 32 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 33 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 34 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 35 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 36 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 37 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 38 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 39 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 40 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 41 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 42 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 43 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 44 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 45 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 46 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 47 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 48 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 49 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 50 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 51 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 52 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 53 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 54 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 55 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 56 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 57 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 58 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 59 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 60 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 61 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 62 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 63 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 64 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 65 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 66 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 67 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 68 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 69 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 70 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 71 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 72 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 73 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 74 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 75 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 76 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 77 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 78 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 79 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 80 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 81 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 82 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 83 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 84 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 85 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 86 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 87 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 88 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 89 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 90 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 91 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 92 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 93 of 94
Case 18-71778-wlh   Doc 58    Filed 07/17/19 Entered 07/17/19 16:34:07   Desc Main
                             Document      Page 94 of 94
